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                                       IN THE
                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT
                                  Record No. 23-1058

                                           JOHN DOE,
                                                 Plaintiff-Appellant,

                                                v.

                                     JANE DOE,
                                              Defendant-Appellee.
                ____________________________________________________
               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    AT RALEIGH
                ____________________________________________________
                             SUPPLEMENTAL APPENDIX
                                     (Pages 1 – 4)
                ____________________________________________________




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                                  THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                          WESTERN DIVISION
                                           No. 5:22-cv-500-BO

       ---------------------------------------------------------------x
       JOHN DOE,                                                      |
                                                                      |
                                           Plaintiff,                 |
                                                                      |
                         -v-                                          |
                                                                      |
       JANE DOE,                                                      |
                                                                      |
                                           Defendant.                 |
       ---------------------------------------------------------------x

                                        PLAINTIFF’S MOTION FOR
                                  LEAVE TO PROCEED UNDER PSEUDONYM

                 Plaintiff John Doe moves the Court for leave to proceed under pseudonym. In support of

       this motion Plaintiff will file contemporaneously a memorandum of law which is incorporated

       herein.

                 Respectfully submitted on this 8th day of December, 2022.

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                                                            Attorneys for Plaintiff

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                                                            -and-




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                                       CERTIFICATE OF SERVICE

              I certify that on this 8th day of December, 2022, I filed the foregoing using the CM/ECF

       system, which will provide notice to all counsel of record and will serve the same with the

       complaint and summons in this action.


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                              THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION
                                       No. 5:22-cv-500-BO



        JOHN DOE,
                              Plaintiff,
               v.
        JANE DOE.
                            Defendants.



                                           [PROPOSED] ORDER

              This matter is before the court on the Plaintiff’s Motion for Leave to Proceed Under a

       Pseudonym (ECF No. 5). For the reasons set out in the Motion and supporting memorandum of

       law and for other good cause shown, the Motion will be GRANTED.

              THEREFORE, it is hereby ORDERED that the parties shall proceed in this action by

       referring to one another’s pseudonym in the manner set out in the Motion.

              SO ORDERED this ____ day of December 2022.




                                            []
                                            United States District Court Judge




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                                                        SA4
